                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Michelle Redd
                                                Plaintiff,
v.                                                             Case No.: 1:20−cv−07658
                                                               Honorable Sara L. Ellis
Healthcare Revenue Recovery Group, LLC
                                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 15, 2021:


         MINUTE entry before the Honorable Sara L. Ellis: The Court grants Defendant's
motion for extension of time to answer or otherwise plead [11]. Defendant's responsive
pleading is due by 3/24/2021. The Court strikes the status date set for 3/16/2021 and resets
it to 8/4/2021 at 9:30 a.m. The Court sets the following discovery schedule: Rule 26(a)(1)
disclosures are due by 4/1/2021; written discovery to issue by 4/16/2021; and fact
discovery closes on 8/2/2021. Mailed notice(rj, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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